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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE
 ADAM FRANCHI, Individually and On                  )
 Behalf of All Others Similarly Situated,           )
                                                    )
                        Plaintiff,                  )   Case No. 1:18-cv-01890-CFC
                                                    )
        v.                                          )   JURY TRIAL DEMANDED
                                                    )
 BLACK BOX CORPORATION, JOEL T.                     )   CLASS ACTION
 TRAMMELL, RICHARD L. CROUCH,                       )
 CYNTHIA J. COMPARIN, RICHARD C.                    )
 ELIAS, THOMAS G. GREIG, JOHN S.                    )
 HELLER, AGC NETWORKS PTE LTD.,                     )
 BBX MAIN INC., BBX INC., and HOST                  )
 MERGER SUB INC.,                                   )
                                                    )
                        Defendants.                 )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Adam

Franchi (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the “Action”)

without prejudice. Defendants have filed neither an answer nor a motion for summary judgment

in the Action, and no class has been certified.

 Dated: March 5, 2019                                   RIGRODSKY & LONG, P.A.

                                                  By: /s/ Brian D. Long
                                                      Seth D. Rigrodsky (#3147)
                                                      Brian D. Long (#4347)
                                                      Gina M. Serra (#5387)
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